    Case: 1:22-cv-03998 Document #: 28 Filed: 10/31/22 Page 1 of 2 PageID #:129




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DENA NATOUR FOR MINOR             )
HADI ABUATELAH ,                  )
           Plaintiffs,            )    Case No. 22-cv-03998
     v.                           )    Hon. Steven C. Seeger
CHIEF OF POLICE OAK LAWN POLICE )
DANIEL VITTORIO, OFFICER B.       )
COLLINS, OFFICER P. O’DONNELL     )
OFFICER M. HOLLINGSWORTH and      )
THE VILLAGE OF OAK LAWN           )
           Defendants.            )
                     SCHEDULING ORDER UNDER RULE 16(b)

         The Court received the parties’ Joint Initial Status Report, which contained a proposed

discovery plan as required by Rule 26(f)(2). Based on the discovery plan proposed by the

parties, the Court hereby sets the following scheduling order under Rule 16(b). The Court will

modify this schedule “only for good cause.” See Fed. R. Civ. P. 16(b)(4).

 Event                                             Deadline

 Amendment to the pleadings                        3.30.23

 Service of process on any “John Does”             All Defendants waived service

 Completion of Fact Discovery                      5.7.23

 Disclosure of Plaintiff’s Expert Report(s)        6.7.23

 Deposition of Plaintiff’s Expert                  9.7.23

 Disclosure of Defendant’s Expert Report(s)        8.7.23

 Deposition of Defendant’s Expert                  11.7.23

 Dispositive Motions                               12.7.23
    Case: 1:22-cv-03998 Document #: 28 Filed: 10/31/22 Page 2 of 2 PageID #:130




Date: October 31, 2022

                                            Steven C. Seeger
                                            United States District Judge




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